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                   EXHIBIT “A”
            Case 1:19-cv-09677-PKC Document 14-1 Filed 03/02/20 Page 2 of 18




               ~Ir. Crnie Mo1 ir1c1
               \.lamer-Jenkinson Cor.rany of Cal 'ifornia
               P.O. Dox 167$7
               Irvine, California 92713
              .Dear Hr. Molina:
                                                                                         ..
               This is 1n rep1y to your letter of January 17. 19~0 concerning the
                                             -
               1abe1ing of ~i11a flavoring \·lith other natura1 flavor-s.
              A flavorin~ co□~osed of S~~ v2ntlla extract and 50~ natu~n1 flavon
              not derived fror.i van111a beans 1r.tende<l for rctaii sale m3y b-e-icfan ...
               tiffed as "vanfl1a flavor wfth other nntur~l flavorsti. Ho'n'ever,
              because 11 vani11a extract" and "vanilh''fLwor1nq" are standardi,:cd
              foC'ds and thrse products i\re expensive \-1e bc1ieve 1n order to dis-
              tinguish this product froiil other s1mi1 ar products the genera1 prfnc1p1~s
              of 21 CFR FR 102.5 s~ou1d apply. ·Thus. the name ~hou1d be accor.ipuni~d
              t,y 11 contains 50:~ vanf11a cxtrc1ct and 50~ r.on-vJnil1a flnvors" •

... ~ -·· . ··-·s1nc-e
                    th'fs'product'·is to be sol<i ut rctui1 it r.1t1st cor.tply H1th the?
            · applicable 1ttb~lin~ requirc:,":ents of 21 cr-r. 101. These provisions
              would rc:iuiro ':\t a r.,Jnir:illm that the label for the food. bear: (1)
              ~n i~cntity st~te□ ent; (2) nn accurate n~t contents dec1aration;
              (3) a lfstfno of each ingredient in the fond by 1ts cormon or usua1
             nan~ in dcsccndir.~ ord!)r of rredominanc:e by Height; anc! (~) th~
             na~ <tnd address of the nanuf2",Cturer. pc1c!:er or distrihutor.
              If we can he of further assistance, please 1et us knm~.


                                                                                    . '·!
                                                      Sincerely your-s,
                                                                                    .....
                                                                                    ·!      '.
                                             ,,. ..   T~y1 or M. Quinn
                                                      AssociDte Director
                                                        for Corrip1iance
                                                      Durcau of Foods
Case 1:19-cv-09677-PKC Document 14-1 Filed 03/02/20 Page 3 of 18




                   EXHIBIT “B”
           Case 1:19-cv-09677-PKC Document 14-1 Filed 03/02/20 Page 4 of 18

                                Mass Spectrometry Facility                 Thomas G. Hartman, Ph.D.
l\_UTGERS                       Food Innovation Center North
                                Rutgers, The State University of NJ
                                                                           Laboratory Director
                                                                           hartmantg@aol.com
      New Jersey Agricultural   63 Dudley Road                             Phone: 848-932-5543
      Experiment Station        New Brunswick, NJ 08901-8520               Fax: 732-932-6776




                                                               January 31, 2020

 Spencer Sheehan, Esq.
 Sheehan & Associates, P.C.
 505 Northern Blvd
 Suite 311
 Great Neck, NY 11021

 spencer@spencersheehan.com

                                       CONFIDENTIAL

                  Mass Spectrometry Laboratory Analysis Report #7608

          Flavor Analysis ofWestsoy Organic Unsweetened Vanilla Soymilk

 Dear Mr. Sheehan:

      This is the report pertaining to the above-captioned samples that you
 submitted for flavor analysis.

 I        Sample Log

          The following samples were received for analysis:

 1.       Westsoy Organic Unsweetened Vanilla Soymilk
          Production Code: 10219254714:44 1229629

 II       Analysis Request

          The analysis request was to extract and analyze the flavors from the product.




                                                  1
      Case 1:19-cv-09677-PKC Document 14-1 Filed 03/02/20 Page 5 of 18




III   Analysis Methodology

       The product ( 10 g) was transferred to a borosilicate glass test tube sealed
with Teflon-lined, screw cap closure, matrix-spiked with 10 µg ofnaphthalene-d8
internal standard (1.0 ppm w/v) and mixed thoroughly using a lab vortexor. The
sample was then divided into 4 equal portions, transferred to glass vials and
extracted with equal volumes (1: 1) of methylene chloride. The layers were
allowed to separate and then the methylene chloride extracts isolated and pooled
together. The pooled extracts were centrifuged 30 minutes at 2500 rpm to clarify
(separate any water or emulsion) then dried with anhydrous sodium sulfate. The
dried extract was concentrated under a gentle stream of nitrogen to a final volume
of approximately 0.5 mL then transferred to a Purge & Trap apparatus (Scientific
Instrument Services, Solid Sample P&T system) and subjected to Purge & Trap-
Thermal Desorption-GC-MS analysis as follows:

Purge & Trap-Thermal Desorption-GC-MS

       Concentrated methylene chloride extract prepared as described above was
evaporated to dryness in a stream of nitrogen gas inside the glass tubing of the
purge & trap apparatus (SIS Solid Sample Purge & Trap Oven). Immediately
upon reaching dryness the sample was subjected to P&T analysis by purging with
nitrogen at 50 ml per minute for 30 minutes at 150°C. The exhaust of the P&T
apparatus was fitted with a Tenax-TA adsorbent trap. The traps were then
connected to the Short Path Thermal Desorption system and thermally desorbed
directly into the GC-MS system for final analysis (SIS Model TD-4 Short Path
Thermal Desorber). The thermal desorption conditions were 250°C for 5 minutes.
A method blank was prepared and analyzed prior to the vanilla ice cream sample.
Compounds detected in the method blank were disregarded in the data treatment
of the test sample.

GC-MS Analysis Methodology

       Analyses ofTenax traps prepared as described above were conducted using
a Scientific Instrument Services (SIS) model TD4 Short Path Thermal Desorber
interfaced to the Varian 3400 GC directly coupled to a Finnigan TSQ-7000 triple
stage quadrapole tandem mass spectrometer equipped with an Xcaliber data
system. Thermal desorption conditions were 250°C for 5 minutes using sub-

                                         2
      Case 1:19-cv-09677-PKC Document 14-1 Filed 03/02/20 Page 6 of 18



ambient, cryogenic GC column temperature programming. The GC was equipped
with a 60 meter x 0.32 mm i.d. Guardian-ZB-5MS capillary column with a 1.0 µm
film thickness (Phenomonex). The mass spectrometer was operated in electron
ionization mode (70 eV) scanning masses 35-350 once each second.

Materials

      Naphthalene-d8 used as internal standard for the study was purchased from
Sigma-Aldrich Chemical Co, St. Louis MO. Methylene chloride was purchased
from Thermo Fisher Scientific. All thermal desorption supplies were purchased
from Scientific Instrument Services, Inc., Ringoes, NJ.

IV    Results

       The GC-MS analysis data for the vanilla soymilk product is summarized in
Table 1. The GC-MS chromatogram corresponding to the Table is presented in
Figure 1. From left to right, the Table lists the MS scan number (from centroid of
peak), peak area integration, peak identification and then concentration data
expressed in parts per million (ppm w/v). The data is semi-quantitative and based
on peak area ratio to the matrix-spiked internal standard (naphthalene-d8)
assuming a detector response factor of 1.0 with no correction for extraction
efficiency.

      If you have any questions or if I can be of further assistance to you then
please don't hesitate to contact me.


                                       Respectfully Submitted,




                                       Thomas G. Hartman, Ph.D.
                                       Mass Spectrometry Lab Director
                                       & Research Professor




                                         3
    Case 1:19-cv-09677-PKC Document 14-1 Filed 03/02/20 Page 7 of 18



                            Attachments

►   Table 1, Analysis Results Summary

►   Figure 1, GC-MS Chromatogram

►   Analysis Data Forms

►   Photo of Test Sample




                                   4
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                                           Table 1

                         Sheehan & Associates, P.C., Project #7608
                      Westsoy Organic Unsweetended Vanilla Soymilk
                         Production Code: 10219254714:44 1229629
      Methylene Chloride Extract of with 1 ppm Matrix-Spiked Int. Std. by P& T-TD-GC-MS

Data File = TSQA3762

MS      Area                                                                       Cone.
Scan # Integration Peak Assignment                                                 PPMw/w
    132    1837527 diacetyl                                                              1.18
    186      110971 acetol                                                               0.07
    238      212546 acetoin                                                              0.14
    284      455852 1,2-propylene glycol (PG)                                            0.29
    339       17449 hexanal                                                              0.01
    381       27961 methyl pyrazine                                                      0.02
    428       20701 hexyl alcohol                                                        0.01
    490       98469 gamma-butyrolactone                                                  0.06
    553      355555 hexanoic acid                                                        0.23
    559      124675 benzaldehyde                                                         0.08
    576       25500 2-pentylfuran                                                        0.02
    623      415090 cyclotene                                                            0.27
    639      362492 N-methylpyrrolidinone (NMP)                                          0.23
    655       52342 gamma-hexalactone                                                    0.03
    661      123598 heptanoic acid                                                       0.08
    676       91395 2-acetylpyrrole                                                      0.06
    693       93935 guiaicol                                                             0.06
    700       62741 nonanal                                                              0.04
    705      296423 3-hydroxy-4,5(R)-dimethyl-2(5H)-furanone                             0.19
    743   45519020 maltol                                                              29.23
    761      482597 octanoic acid                                                        0.31
    769      138399 benzoic acid                                                         0.09
    800      209270 decanal                                                              0.13
    815    1557448 naphthalene-dB (internal standard)                                    1.00
    820      163504 2,3-dihydrobenzofuran                                                0.10
    853      872541 nonanoic acid                                                        0.56
    890      451734 cinnamic aldehyde                                                    0.29
    941       81667 decanoic acid                                                        0.05
    955      699778 gamma-nonalactone                                                    0.45
   1018   60098160 vanillin                                                            38.59
   1110      280100 la uric acid                                                         0.18
   1187      765501 triethyl citrate                                                     0.49
   1212      141266 syringealdehyde                                                      0.09
   1269       83629 myristic acid                                                        0.05
   1459       84413 palmitic acid                                                        0.05
                    Total                                                              73.75
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Sample Name:             Westsoy Organic Unsweetened Vanilla Soymilk (Production
                        Code: 10219254714:44 1229629), DCM Extract, 150C/30min,
                        matrix spiked with w/w l.0ppm Int. Std. by P&T-TD-GC-MS
Study:
Client:                 Sheehan & Associates, P.C., LLN7608
Laboratory:             Mass Spectrometry - Dr. Tom Hartman
Company:
Phone:
Instrument Method:      C:\Xcalibur\methods\voc45solventdelay8min.meth
Processing Method:
Vial:                       1
Injection Volume (µl):     10.00
Sample Weight:              0.00
Sample Volume (µl):         0.00
ISTD Amount:                0.00
Dil Factor:                 1.00
                      Case 1:19-cv-09677-PKC Document 14-1 Filed 03/02/20 Page 10 of 18




                                                                                          IC
                                           9tel1
           Vanilla
              SOYMILK
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                        Heart                                                                       'i.
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                      Meets Criteria For
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 l
     I      See back panel for information about
           the relationship between saturated fat,
               cholesterol and heart disease.*

                   9g PROTEIN
           Case 1:19-cv-09677-PKC Document 14-1 Filed 03/02/20 Page 11 of 18




Nutrition Facts
Serving Size 1 cup, 8 fl oz (240ml)
Servings Per Container 4

Amount per serving
Calories 100                                                 Calories from Fat 45
                                                                                              -
                                                                                     % Daily Value*
Total Fat 5g                                                                                   8%
   Saturated Fat 1g                                                                           5%
   Trans Fat 0g
   Polyunsaturated Fat 3g
 Monounsaturated Fat 1g
Cholesterol 0mg                                                                              0%
Sodium 30mg                                                                                  1%
Potassium 390mg                                                                             11%
Total Carbohydrate 4g                                                                        1%
  Dietary Fiber 1g                                                                           6%
  Sugars 3g
Protein 9g
                                                                                           18%
 Vitamin A 0%                                                  •               Vitamin C 0%
 --
 Ca\cium 0%
 •~ercent Daily Values are based on a 2,000 calorie
                                                               •                   Iron 8%
 diet. Your daily values may be higher or lower
 depending on your calorie needs:
 :---.              Calories:                                                  2,000      2.500
 Total Fat         less than                                                   65g       80g
  Sat Fat          less than                                                   20g       25g
 Cholesterol       less than                                                   300mg     300mg
 Sodiurn           less than                                                   2,400mg   2,400mg
 Potassiurn                                                                    3,500mg   3,500mg
 Tot_al Carbohydrate                                                           300g      375g
  Dietary Fiber                                                                25g       30g
 Protein                                                                                 65g
                                                                               509
1
 PIGREb1Efffs: ORGANIC SOYMILK IFILTEREO WATER,
INH01.1: ORIJAN1c SOYBEANS), NAT!JRAL VANILLA
FLAVOR INITH OTHER NATURAL FLAVORS.
COI\ITAll\ls: soy

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  ISTR1eur10N BY·
I~E    HAIN CELESTIAL GROUP, INC.
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CERTIFIED ORGANIC
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"#"' ..."'~      Case 1:19-cv-09677-PKC
              DEPARTMENT   OF HEALTH ANDDocument 14-1 Filed 03/02/20 Page
                                         HUMAN SERVICES               Public12 of 18
                                                                             Health Service



(~
 ~}t-
                                                                                            Food and Drug Administration
                                                                                            College Park, MD 20740




        APR 1 9 2005

       Mr. Richard J. Brownell, Jr.
       Vice President
       Vanilla Products
       Virginia Dare
       882 Third Avenue
       Brooklyn, New York 11232

       Dear Mr. Brownell:

       This is in response to your letter of February 10, 2005, to the Food and Drug Administration (FDA)
       regarding our October 8, 2004, letter to Rhodia, Inc. on the labeling of a vanillin product derived by
       fermentation. You requested clarification on our response to Rhodia, Inc. because you believe that it
       may be misinterpreted. In addition, you requested further clarification on whether a vanillin product
       derived by a natural process may be used to make natural vanilla flavors.

      FDA's policy on the use of the term "natural" is that "natural" means that nothing artificial (including
      artificial flavors) or synthetic (including alI color -additives regardiess of source) has been included in or
      has been added to a food that would not normally be expected to be in the food. Additionally, we do not
      restrict the use of the term "natural" except on products that contain added color, synthetic substances
      and flavors as defined in Title 21 of the Code of Federal Regulations (CFR), section 101.22.

      As you know, on April 5, 2004, Rhodia, Inc. wrote to us requesting a letter confirming that vanillin
      derived from a natural source such as ferulic acid via a natural process such as fermentation can be
      labeled "natural vanillin" or "vanillin derived naturally by fermentation." In our October 8, 2004,
      response to Rhodia, Inc. we stated that the common or usual name of the product Rhodia, Inc. described
      in its letter is "vanillin." Further, we stated that if the product is manufactured by a natural process, we
      would not object to the use of a statement such as ''vanillin derived naturally tm-_ough fermentation"
      elsewhere on the product label because such statement indic;ates how the product was processed.
      However, the product Rhodia, Inc. described would not qualify as "natural vanillin." Thus, although we
      would not object to a statement on the label indicating that vanillin is derived naturally through a
      fermentation process, we point out that such a statement should not imply that the vanillin is a natural
      flavor or that a finished food containing it is natural.

      In your letter, you requested further clarification on whether a vanillin product derived by a natural
      process may be used to make natural vanilla flavors. The standards of identity for vanilla extract
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Page 2 - Mr. Richard J. Brownell, Jr.

(21 CFR 169 .17 5) and vanilla flavoring (21 CFR 169 .177) do not provide for the use of vanillin.
Therefore, vanillin may not be used to make natural vanilla flavors in such standardized foods.

If we may be of further assistance, please let us know.

                                  Sincerely yours,



                                  Catalina Ferre-Hockensmith
                                  Consumer Safety Officer
                                  Division of Food Labeling
                                    and Standards
                                  Office of Nutritional Products, Labeling
                                    and Dietary Supplements
                                  Center for Food Safety
                                    and Applied Nutrition
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                    EXHIBIT “C”
            Case 1:19-cv-09677-PKC Document 14-1 Filed 03/02/20 Page 15 of 18
 ,,..~   DEPARTMENT OF HEALTH AND HUMAN SERVICES                                      Public Health Service
1
\..4                                                                                  Food and Drug Administration
                                                                                      College Park, MD 20740-38




                                              'AUG Os 2008
          Richard J. Brownell Jr.
          Vice President Vanilla Products
          Virginia Dare Extracts, Inc.
          882 Third Avenue
          Brooklyn, New York 11232

          Dear Mr. Brownell:

          This is in response to your letter to the Food and Drug Administration (FDA) dated
          March 16, 2007, on the labeling of finished foods or beverages where vanilla is the
          characterizing flavor and the label refers to natural vanilla, vanilla flavor or some other
          similar description. We regret the delay in responding to your inquiry, and hope the
          following information is still helpful to you.

          You specifically asked when a food or beverage product is marketed (labeled) as
          (natural) vanilla, does the characterizing (vanilla) flavor have to be derived from vanilla
          beans and conform to the vanilla standard of identity. According to our regulation in
          Title 21 of the Code of Federal Regulations (CFR), section 101.22(i)(l), if a food
          contains no artificial flavor that simulates, resembles or reinforces the characterizing
          flavor, the name of the food on the label shall be accompanied by the common or usual
          name of the characterizing flavor, e.g., "vanilla." For example, the common or usual
          name of an ice cream product that does not contain artificial flavors would be "vanilla
          ice cream," and it should be made from vanilla beans. On the other hand, if a product
          such as ice cream does not contain enough of the characterizing ingredient, vanilla
          beans, to characterize the food or it does not contain such ingredient, and contains
          vanilla flavor, the product must be labeled "natural vanilla flavored ice cream" or
          "vanilla flavored ice cream." However, the flavors used to make such product must be
          derived from vanilla beans such as vanilla extract or vanilla flavor that are subject to
          standards of identity. Products made from vanillin should not be named "vanilla __,"
          e.g., "vanilla ice cream," or "vanilla flavored _ _," e.g., "vanilla flavored ice cream"
          because these products are not made from vanilla beans or vanilla flavors made from
          vanilla beans. Furthermore, if a food contains any artificial flavor which resembles or
          reinforces the characterizing flavor, the name of the food on the label should be
          accompanied by the common or usual name of the characterizing flavor and the word(s)
          "artificial" or "artificially flavored", e.g., "artificial vanilla," "artificially flavored
          vanilla,. or "vanilla artificially flavored."
        Case 1:19-cv-09677-PKC Document 14-1 Filed 03/02/20 Page 16 of 18



Page 2- Mr. Richard J. Brownell Jr.

In our April 19, 2005, letter to you on the labeling of a Rhodia, Inc. vanillin product
derived from a natural source such as ferulic acid via a natural process such as
fermentation, we stated that this vanillin product ''would not qualify as natural vanillin."
In our April 19, 2005, letter we also stated that although we would not object to a
statement on the label indicating that vanillin is derived naturally through a fermentation
process, such a statement should not imply that the vanillin is a natural flavor or that a
finished food containing vanillin is natural. However, upon further consideration on this
issue, we realize that our views about vanillin expressed in the April 19, 2005, letter were
based on the food standards regulations under sections 169.180, 169.181, and 169.182 in
21 CFR.

These regulations pertain to standardized vanilla extract ingredients that contain added vanillin
and require the designation "contains vanillin, an artificial flavor (or flavoring"). However, it
should be noted that these regulations pre-date the fermentation process that Rhodia uses to
produce vanillin. Also, 21 CFR 101.22(a)(l) provides that fermentation products are not
considered to be artificial flavors. Thus, the new Rhodia process produces a natural flavor and
consequently, the ingredient label of a finished food containing the vanillin product made by
Rhodia can bear the term ''vanillin," "natural flavor'' or "contains natural flavor'' but the term
"natural flavor" must not be used in such a way to imply that it is a "natural vanilla flavor''
because it is not derived from vanilla beans. Furthermore, the term "natural" is not a part of the
common or usual name of Rhodia's product when sold as the finished food. The common or
usual name of Rhodia's product is "vanillin," regardless of the type of method used to produce it.
Therefore, the statement of identity of the product sold as the finished food is "vanillin."

If we may be of further assistance, please let us know.

                                              Sincerely yours,




                                              Catalina Ferre-Hockensmith
                                              Food Labeling and Standards Staff
                                              Office of Nutrition, Labeling
                                               and Dietary Supplements
                                              Center for Food Safety
                                               and Applied Nutrition
Case 1:19-cv-09677-PKC Document 14-1 Filed 03/02/20 Page 17 of 18




                    EXHIBIT “D”
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                                                                                      Public Health Service
DEPARTMENT OF HEALTH & HUMAN SER'\<1CES
                                                                                      Food and Drug Admini stration
                                                                                      College Park, MO 20740


                                           October 10, 2008


Ms. Agneta Weisz
Comax Flavors
130 Baylis Road
Melville, NY 11747

Dear Ms. Weisz:
                                                                      ting the Food and Drug
This is in response to your letter, dated Novem ber 15, 2007, reques
                                                                ed  by  a fermentation process
Administration's (FDA) opinion as to whether vanillin produc
                                                                natura  l flavoring substance in
developed by Comax Flavors (Comax) would be considered a
                                                                    Federa  l Regulations (21 CFR).
accordance with section 101.22 (a)(3) in Title 21 of the Code of
                                                                  acturin process and infonnation
                                                                           g
Along with your letter you submitted a description of the manuf
                                                                   ber 11, 2007, you submitted
on product analysis and specifications. In a letter, dated Decem
                                                                 t.
additional information on the chemical analysis of your produc
                                                                 that Coma x's fermentation process
Based on the information you submitted, we have determined
                                                                    s. As such, Cornax's vaoillin
for vanillin production can be considered to be a natural proces
                                                                       section 101.22 (a)(3).
product can be categorized as a natural flavor in accordance with
                                                          name     of the  product you describe is
However, with respect to labeling, the common or usual
                                                             e it.  Theref   ore, the product should be
"vanillin," regardless of the type of method used to produc
                                                                 ed   by  either Coma x or synthetically
labeled as "vanillin." FDA would expect vanillin to be produc
                                                                   (FCC)   in  order  to be acceptable
to meet the specifications listed in the Food Chemicals Codex
                                                                       h a natura  l proces s, as in the
for food use. If the substance happens to be manufactured throug                             g statement
                                                                    an additio  nal  labelin
case of Comax's fermentation process, this can be indicated by
                                                                  naturally throug     h fermen  tation" or
referring to the manufacturing process (e.g., "vanillin derived
"natur al'' somewhere else on the label).
                                                                       h a natural process such as
 Moreover, we point out that when vanillin manufactured throug
                                                         r finishe d food, it should be listed in the
 Comu 's vanillin is used as an ingredient in anothe
                                                           should  not be  done  in a way to imply that it
 ingredient list as "vanillin" or "natural flavor'' but it
                                                           from  vanilla beans.
 is a "natural vanilla flavor" because it is not derived
                                                                 this matter.
 Please contact us again if you have further questions regarding


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                                                      NegasfiBelay,-Ph.D .
                                                      Office of Food Additive Safety
                                                      Center for Food Safety
                                                          and Applied Nutrition
